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                                       UNITED STATES DISTRICT COURT
   10
   11                             CENTRAL DISTRICT OF CALIFORNIA

   12
        STEPHANIE CLIFFORD a.k.a.                   Case No. 2:18-CV-02217
   13 STORMY DANIELS a.k.a. PEGGY
                                                    DEFENDANT DONALD J. TRUMP’S
   14 PETERSON, an individual,                      RESPONSE TO PLAINTIFF’S
   15                                               SUPPLEMENTAL STATEMENT
                          Plaintiff,
                                                    REGARDING JOINT RULE 26(f)
   16
                                                    REPORT
                 v.
   17
                                                    Scheduling Conference
   18 DONALD J. TRUMP a.k.a. DAVID
                                                    Date: September 24, 2018
      DENNISON, an individual,
   19                                               Time: 2:00 p.m.
      ESSENTIAL CONSULTANTS, LLC,
   20 a Delaware Limited Liability
                                                    Assigned to the Hon. S. James Otero
      Company, MICHAEL COHEN, an
   21
      individual, and DOES 1 through 10,
                                                    Action Filed: March 6, 2018
   22 inclusive,
   23
                   Defendants.
   24
   25
   26            Defendant Donald J. Trump (“Mr. Trump”) submits the following response to
   27 Plaintiff Stephanie Clifford’s (“Plaintiff”) supplemental statement regarding the
   28 parties’ Joint Rule 26(f) Report. [ECF No. 81.]
        {00094278;1}

                       RESPONSE TO SUPPLEMENTAL STATEMENT RE: RULE 26(f) REPORT
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    1            Plaintiff’s supplemental statement confirms that no actual controversy exists
    2 between Plaintiff and Mr. Trump with respect to the document entitled “Confidential
    3 Settlement Agreement and Mutual Release; Assignment of Copyright and Non-
    4 Disparagement Agreement,” dated October 28, 2016 (the “Settlement Agreement”).
    5 Accordingly, the Court lacks subject matter jurisdiction over Plaintiff’s first cause of
    6 action for declaratory relief, for the following reasons:
    7            1.       No Actual Controversy Exists: Mr. Trump has expressly disclaimed
    8 any countervailing rights under the Settlement Agreement by: (a) confirming that the
    9 parties are in agreement that he did not sign the Settlement Agreement; (b) stipulating
   10 that he does not, and will not, contest Plaintiff’s assertion that the Settlement
   11 Agreement was never formed; and (c) covenanting not to sue Plaintiff to enforce any
   12 of the terms of the Settlement Agreement. [ECF. No 80, p. 2, Ex. A.] Plaintiff’s
   13 attempt to establish that a controversy previously existed between Plaintiff and Mr.
   14 Trump regarding the Settlement Agreement is irrelevant. There is no actual
   15 controversy present at this time. According to Plaintiff, her “claims center on her
   16 ability to speak and be free from any potential liability for a violation of the
   17 Settlement Agreement.” [ECF No. 39, Opposition to Ex Parte App for Stay, p. 16.]
   18 Mr. Trump has confirmed that this is no longer an issue.
   19            2.       Plaintiff’s Consent Is Unnecessary: Mr. Trump’s disclaimer of
   20 countervailing rights was not a settlement proposal, nor is Plaintiff’s consent
   21 necessary to warrant dismissal of her declaratory relief claim for lack of subject
   22 matter jurisdiction. See e.g. Paramount Pictures Corp. v. Replay TV, 298 F.Supp.2d
   23 921, 926–27 (C.D. Cal. 2004) (granting motion to dismiss declaratory relief claim for
   24 lack of subject matter jurisdiction, despite opposition, based upon moving party’s
   25 unilateral covenant not to sue.); Fleming v. Coverstone, 2010 WL 11508869, at *5
   26 (S.D. Cal. 2010) (granting motion to dismiss declaratory judgment claim for lack of
   27 subject matter jurisdiction, despite opposition, because moving party’s unilateral
   28 “statements that she did not sign the contract and will not sue moot the declaratory
        {00094278;1}                             -2-
                       RESPONSE TO SUPPLEMENTAL STATEMENT RE: RULE 26(f) REPORT
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    1 judgment claim.”); City of Parma, Ohio v. Cingular Wireless, LLC, 278 F. App’x
    2 636, 641–42 (6th Cir. 2008) (affirming dismissal of declaratory relief claim for lack
    3 of subject matter jurisdiction, despite opposition, because counsel for moving party
    4 confirmed at the hearing that there was no dispute regarding the parties’ interpretation
    5 of the contract at issue.)1
    6            3.       Plaintiff Is Not Entitled To Judgment: Plaintiff is not entitled to any
    7 judgment against Mr. Trump, much less a judgment for the items listed in Plaintiff’s
    8 supplemental statement. [ECF No. 81, pp. 5-6.] Mr. Trump does not contest
    9 Plaintiff’s assertion that the Settlement Agreement was never formed, which is the
   10 primary relief sought in the FAC (all other relief is pled in the alternative). [ECF No.
   11 14, pp. 8, 17.] In any event, Mr. Trump has covenanted not to sue Plaintiff to enforce
   12 the Settlement Agreement. That is sufficient to divest the court of subject matter
   13 jurisdiction, without the entry of any judgment. See e.g. Mytee Prod., Inc. v.
   14 Studebaker Enterprises, Inc., 2012 WL 4471246, at *3 (S.D. Cal. 2012) (granting
   15 motion to dismiss declaratory relief claim for non-infringement and invalidity of
   16 patent, for lack of subject matter jurisdiction, without determining the validity of the
   17 patent, based upon covenant not to sue for patent infringement.), citing Dow Jones &
   18 Co., Inc. v. Ablaise Ltd., 606 F.3d 1338, 1346 (Fed.Cir.2010) (“a covenant not to sue
   19 for patent infringement divests the trial court of subject matter jurisdiction over
   20 claims that the patent is invalid, because the covenant eliminates any case or
   21
   22
                Campbell-Ewald Co. v. Gomez, 136 S. Ct. 663 (2016), which Plaintiff claims
                 1

   23   “abrogates all of the case law cited by Defendants” is entirely inapplicable. [ECF No.
   24
        81, p. 4.] Gomez involved a claim for damages, among other things, but not
        declaratory relief. Id. at 667. In his concurring opinion, Justice Thomas distinguished
   25   Gomez from cases that “involved claims for injunctive or declaratory relief that
   26
        became moot when the defendants ceased causing actual or threatened injury.” Id. at
        677. Justice Thomas stated: “[W]hether a claim for prospective relief is moot is
   27   different from the issue in this case, which involves claims for damages to remedy
   28   past harms.” Id.

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                       RESPONSE TO SUPPLEMENTAL STATEMENT RE: RULE 26(f) REPORT
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    1 controversy between the parties.”)
    2            4.       There Is No Actual Controversy Over The $130,000 Payment: Mr.
    3 Trump takes no position regarding the $130,000, which Essential Consultants, LLC
    4 (“EC”) paid to Plaintiff. Any dispute between Plaintiff and EC regarding the
    5 $130,000 does not create an actual controversy between Plaintiff and Mr. Trump.
    6            5.       Plaintiff’s Claim For Attorneys’ Fees Is Irrelevant: Plaintiff is not
    7 entitled to an attorneys’ fees award against Mr. Trump. Both Plaintiff and Mr. Trump
    8 are in agreement that Mr. Trump did not sign the Settlement Agreement, has never
    9 taken the position that he is a party to the Settlement Agreement, and has never
   10 affirmatively sought to invoke any rights under the Settlement Agreement in any
   11 action. [ECF No. 80, p. 2.] Even so, a dispute over attorneys’ fees is not sufficient to
   12 create subject matter jurisdiction where it does not otherwise exist. See City of
   13 Parma, Ohio v. Cingular Wireless, LLC, supra, 278 F. App'x at 642 (“And if
   14 [plaintiff’s] efforts to secure a declaratory judgment are for the purpose of exacting
   15 attorney’s fees, that interest alone will not suffice to satisfy the case or controversy
   16 requirement.”), citing Steel Co. v. Citizens for a Better Env't, 523 U.S. 83, 107 (1998)
   17 (“An interest in attorney’s fees is ... insufficient to create an Article III case or
   18 controversy where none exists on the merits of the underlying claim.”)
   19
   20 Dated: September 14, 2018                  HARDER LLP
   21
                                                 By: /s/ Charles J. Harder
   22                                                CHARLES J. HARDER
   23                                               Attorneys for Defendant
                                                    DONALD J. TRUMP
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   27
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                       RESPONSE TO SUPPLEMENTAL STATEMENT RE: RULE 26(f) REPORT
